     Case 2:08-cr-00085-LRS    ECF No. 369   filed 02/06/09   PageID.1215 Page 1 of 1




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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                )
 8                                              )     No. CR-08-085-LRS-5
                         Plaintiff,             )
 9                                              )
       v.                                       )     ORDER GRANTING MOTION TO
10                                              )     MODIFY RELEASE CONDITIONS
       ROBERT BROWN,                            )
11                                              )     (Ct. Rec. 355)
                         Defendant.             )
12                                              )

13          IT IS ORDERED that Defendant, Robert Brown, be removed from

14    electronic home monitoring, and that he be placed on a curfew of

15    6:00 p.m. to 6:00 a.m.

16          IT IS FURTHER ORDERED that the Defendant shall not have any

17    contact with co-defendants in this case.

18          All other Conditions of Release previously entered shall remain

19    in effect.

20          DATED February 6, 2009.

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22                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING MOTION TO MODIFY RELEASE CONDITIONS - 1
